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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MICHAEL J. REDENBURG, ESQ., PC,

                                   Plaintiff,
                 -against-                                               20 CIVIL 5818 (PAE)

                                                                           JUDGMENT
MIDVALE INDEMNITY COMPANY,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated January 27, 2021, the Court denies Redenburg’s

motion to remand and grants Midvale’s motion to dismiss; accordingly, this case is closed.

Dated: New York, New York

          January 28, 2021


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
